Case:l?-OOOOS-vad Doc #:18 Filed: 02/28/17 Page 1 of 2

Fil| irl this information to ident` our case:

Debtor 1 |'illarge_l'y_ Lee Wakefieid__

Debtor 2
lSpouso. rr illing}

United States Banitrupicy Court for lhe: _W§_S_TE_RN_D|STR|CT C)_F i\ili_C_§l£$_)¢\_N__

Case number 17..0{][]{}3 __ Ci'leci< if this isi

in knot-ml - An amended filing

ij A supplement showing postpetition chapter
13 income as of the following date:

Official Form 106| m
Sch_edu|e i: Your income 12;15

Be as complete and accurate as possible. tf two married people are filing together {Debt0r1 and Debtor 2}. both are equally responsible for
supplying correct information. if you are married and not filing joint|y. and your spouse is living with you, include information about your
spouse if you are separated and your spouse is not filing with you, do not include information about your spouse. if more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number ilf knownl. Artswer every question.

~Des<=_rib.e Emplovment _ . _ ____ __ _

l. Flll in your employment

 

 

 

information Debtor1_ _ __ Debtor 2 or non-ming spouse
if you have more than one job, E _ t - Employed m Emp|°¥ed
attach a separate page with l""P °i‘mel'\ 513“»'5
information about additional g N°t employed n Not empwyed
employers ,

Occupatlon _custo_r]‘ier_s_ervlce _ __ _
include part-time. seasona|. or
self-employed work. Employer's name Peckham ___ _ _ _
Occupation may include student Employer's address
or homemaker. if it applies

i-tovv long employed there? 1 month _

m Give Detaiis Abogt Month_ly income _ _ _

Estirnate monthly income as of the date you file this form. if you have nothing to report for any |ine` write 50 in the space include your non-filing
spouse unless you are separated

ii you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines beiow. if you need
more space. attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
__B.Qi’i.'fi|_i.¢.`!§f.§_imuse

List monthly gross wages. salary. and commissions (before all payroll

2- deductions). if not paid monthlyl calculate what the monthly wage would be. 2- 5 2-1_61'25 5 N"'A
3. Estimate and list monthly overtime pay. 3. +S _ D_.QD__ ~5 Nl’A
4. calculate gross income Aud line 2 + line 3. 4. S 2.161.25 5 big

iil`licl:li l"ornl itlfri St'ilt'llult‘ l: \`nur income p;l\__'c i

Case:l?-OOOOS-vad Doc #:18 Filed: 02/28/17 Page 2 of 2

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

oabtori Ma_rgery Lee Wakefield __ _ _ _ __ casa number iirinown; 17.00003
For Debtor 1 For Debtor 2 or
____ non-filing_spouse
copy line 4 here __________________________________________________________________________________________ 41 $ __ 2,161.25 S NtA_
5. List all payroll deductions:
5a. Tax, Medicarel and Sociai Security deductions 5a. 5 353.49 5_ Nl'A
5b. Mandatory contributions for retirement plans 5b. S_ 564.35 3 Ni'A
5c. Voiuntary contributions for retirement plans 5c. 5 0.00 5 NiA
5d. Required repayments of retirement fund loans 5d. 8 __ 0.00 5 NiA
5e. insurance 5e. S__ __ 0.00 5_ N.-"A
5f, Domestic support obligations 5f, S 0.00 5 i_\_i_i_"£t_
5g. Union dues 59- 5 0.00 5 Ni'A
5h. Other deductions. Specify; _ 5h_+ $ _ 0.0D + 5 Ni'£\_
6. Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h, 6. $ 917.84 5 Ni'A__
7. Caiculate total monthly take-home pay. Subtract line 6 from line 4. 7. 5 __ '1,243.4‘1 5 N.-"A
8. List ali other income regularly received:
Ba. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts. ordinary and necessary business expenses, and the total
monthly net incomel Ba. $ 0.00 5 _ NiA
Sb, interest and dividends Bb_ $ _ O.DD 3 NIA
8c Famiiy support payments that you, a non-filing spouse, or a dependent '
regularly receive
include ailmony, spousai support. child support maintenance divorce
settlement and property settlement Bc. 5 0.00 S N,iA
Bd. Unemployment compensation Sd. 5 _ 0.00 5 N.iA
se social security Be. S_“ 1,126.00 5 NlA
Bi. Other government assistance that you regularly receive n
include cash assistance and the value (if known) of any non~cash assistance
that you receive, such as food stamps (benet'lts under the Suppiemental
Nutrition Assistance Program) or housing subsidies
Specify: _ Bf, 5 0.00 5 NIA
Bg. Pension or retirement income - 89. $ Ci.i]i] 5 NIA
8h, Other monthly income. Specify: _ __ Sh.+ 3 _ U.UO + $ __ N,-'A
9, Adcl ali other income. Add lines Sa+Bb+Bc+Sd+Be+Sf+Bg+Bh. 9. lS__ _ 1,126_00 S_ _ N,-'A
to calculate monthly inoome. Aod lina 7 + line s. lo. S_ 2,369.41 :+; S NiA = 8 2,36s._L
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse _ . `

 

 

l1. State all other regular contributions to the expenses that you list in Scheduie J.
include contributions from an unmarried partnerl members of your household, your dependentsl your roommatesl and
other friends or relatives
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Scneduie J,
Specify: 11_ +S g_gg

 

12_ Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income
Write that amount on the Summary of Scheduies and Statislicei Sumrnery of Certain i_i`aoiiitl'es and Related Data, if it

applies 12. s 2,369.41 '

cMi"nad
monthly income
13, Do you expect an increase or decrease within the year after you file this form?
l No.
|:i Yes. Expiain: !

 

 

 

Of`[iciai lion'n 1061 Scilctiuie l: \'oiir income page 2

 

